Case 3:17-cv-00072-NKM-JCH Document 1289 Filed 10/22/21 Page 1 of 3 Pageid#: 21365




                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE

                         Plaintiffs,

   v.                                                       Civil Action No.: 3:17CV00072

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES ALEX
   FIELDS, JR., VANGUARD AMERICA,
   ANDREW ANGLIN, MOONBASE
   HOLDINGS, LLC, ROBERT “AZZMADOR”
   RAY, NATHAN DAMIGO, ELLIOTT
   KLINE a/k/a ELI MOSELEY, IDENTITY
   EVROPA, MATTHEW HEIMBACH, MATTHEW
   PARROTT a/k/a DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS, LEAGUE
   OF THE SOUTH, JEFF SCHOEP, NATIONAL
   SOCIALIST MOVEMENT, NATIONALIST
   FRONT, AUGUSTUS SOL INVICTUS,
   FRATERNAL ORDER OF THE ALT-KNIGHTS,
   MICHAEL “ENOCH” PEINOVICH, LOYAL
   WHITE KNIGHTS OF THE KU KLUX KLAN,
   and EAST COAST KNIGHTS OF THE KU KLUX
   KLAN a/k/a EAST COAST KNIGHTS OF THE
   TRUE INVISIBLE EMPIRE,

                         Defendants.

    FIELDS’ RESPONSE TO PLAINTIFFS’ MOTION TO MODIFY SANCTIONS ORDER

          COMES NOW JAMES ALEX FIELDS, by and through Counsel, and in response to

   Plaintiffs’ motion to modify Judge Hoppe’s October 15, 2021 Order on Sanctions against

   Defendant James Alex Fields, Jr. states:
Case 3:17-cv-00072-NKM-JCH Document 1289 Filed 10/22/21 Page 2 of 3 Pageid#: 21366




           Fields does not oppose the motion to the extent it seeks to prevent testimony on behalf of

   a co-Defendant. Fields does oppose Plaintiffs’ proposed jury instruction. Given the Court’s

   ruling, Fields will not testify at trial, and the jury should be free to infer what it will from that.

   The sanction is sufficient in and of itself.

           Fields does not oppose the four adverse inference jury instructions in Plaintiffs’ motion

   and concedes they comply with Judge Hoppe’s Order and meet all applicable standards

   following Fields’ assertion of his constitution rights.

   .
                                                             Respectfully submitted,


                                                             JAMES ALEX FIELDS, JR.
                                                             By Counsel


                                                             ________/S/_________________________
                                                             David L. Campbell, Esquire (VSB #75960)
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                                                             Counsel for Defendant James A. Fields, Jr.
Case 3:17-cv-00072-NKM-JCH Document 1289 Filed 10/22/21 Page 3 of 3 Pageid#: 21367




                                     CERTIFICATE OF SERVICE


          I hereby certify that on __22__nd day of October, 2021, I electronically filed the foregoing
   with the Clerk of Court using the CM/ECF system which will send notification of such filing to
   all ECF participants.



           I further certify that on October 22, 2021, I also served the following non-ECF participants,
   via electronic mail as follows:
   Christopher Cantwell
   Christopher.cantwell@gmail.com

   Robert Azzmador Ray
   azzmador@gmail.com

   Elliott Kline
   Eli.f.mosley@gmail.com

   Vanguard America c/o Dillon Hopper
   Dillon_hopper@protonmail.com

   Matthew Heimbach
   Matthew.w.heimbach@gmail.com

   Richard Spencer
   richardbspencer@gmail.com

                                                         ________/S/_________________________
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